JS44 (Rev 06/17)~             ~Case 2:18-cv-03902-ER
                                                  CIVIL COVER
                                                     Document   SHEET
                                                              1-1                   ~~1 \~
                                                                  Filed 09/12/18 Page   of 4 ~ ~                                                                                     C\ QJ.__
The JS 44 ClVll cover\neet and the mformat10n contained herem neither replace nor supplement the film<> and service ofpleadmgs or other papers as requrred by law, except as
provided by local rules of court Tlus fomi, approved by the Jud1c1al Conference of the Umted States in s'eptember 1974, 1s required for the use of the Clerk of Court for the
purpose of 1mt1atmg the CIVll docket sheet (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM}                      r

I. (a) PLAINTIFFS                                                                                               DEFENDANTS
    HARRY VERNON'                                                                                               Owens-Illmois, Inc.
    (b) County of Residence ofFrrst Listed Plamtlff         _ _ _ _ _ _ _ _ _ __
                                   (EXCEPT IN US PLAINTIFF CASES)
                                                                                                                County of Residence ofFrrst Listed Defendant               _ _ _ _ _ _ _ _ _ __
                                                                                                                                               (IN US PLAINTIFF CASES ONLY;
                                                                                                                NOTE          IN LAND CONDEMNATION CASES, CSE THE LOCATION OF
    (C) Attorneys (Hrm Name. Address, and Telephone Number)                                                                THE 1RACT OF LA}<D INVOLVED
             Jon D Rubenstem, Esqurre                                                                            Attorneys (If Known)
             Cohen, P!acrtella & Roth, P C                                                                       Chad Mountain, Esq
             Two Commerce Square                                                                                 Maron Marvel Bradley Anderson & Tardy LLC
             2001 Market Street, Swte 2900                                                                       1717 Arch Street, Swte 3710
             Phtladelplua, PA 19102      (215-567-3500)                                                          Philadelp!na, PA 19103
                                                                                                                 215-231-7100

II. BASIS OF JURISDICTI0N(Ptacean "X"tnOneBoxOniyJ                                               ID. CITIZENSHIP OF PRINCIPAL PARTIES (Ptace an '"X" m One Box for Platntzf f
                                                                                                            (For Dtverstty Cases Only)                                           and One Box for Defendant)
c l    i.;   S Government                3 Federal Question                                                                              PTF     DEF                                            PTF        D F
             Plamnff                           (US Government Not a Party)                            C1n:zen of Tlus State               ·1     · l    Incorporated or Pnnc1pal Place            . 4
                                                                                                                                                            ofBusmess In Tlus State

                                                                                                                                                                                                  . 5
a 2    i.;   S Government
              Defendant           G"'=•C-•oJP=••l=filJ                                                C1n:zen of Another State


                                                                                                      C1t1zen or Subiect of a
                                                                                                                                                             corporated and Pnnc1pal Place
                                                                                                                                                              ofBusmess In Another State

                                                                                                                                                        Foreign Nanon                             . 6
                                                                                                        Fore, Country
IV. NATURE OF SUIT (Ptacean                      "X" tnOneBo:x.OnlyJ                                                       Chck here for Nature of Suit Co<k_gescnpttons
               ON'.l'R'A              ·,-~~J.ilt'i''<iSii:e!wfORT~;*'~"t&?f'NM;!!ll'lf                 ,- ORFEl~~,#f;.;_.BANifR.l/RJG»t,~                    '1l~S1~&;
a 110 Insurance                         PERSONAL INJL'RY              PERSONAL INJURY        o 625 Drug Related Se=e                     422 Appeal 28 USC 158                    c 375 False Chums Act
o 120Marme                              310 Arrplane               a 36 5 Personal Injury -              of Property 21 USC 881          423 Withdrawal                           ' 376 Qut Tam (31 USC
  130 Miller Act                        31 5 Arrplane Product             Product L1abtl1ty  a 690 Other                                          28 USC 157                              3729(a))
  140 Negottable Instrument                   Liability            a 367 Health Care/                                                                                            a 400 State Reapportlonment
c 150 Recovery of Overpayment           320 Assault, Libel &                                                                                                                        410 Antttrust
       & Enforcement of Judgment              Slander                                                                              a 820 Copynghts                                  430 Banks and Ban!ong
a 151 Medicare Act                      330 Federal Employers                                                                            8.30 Patent                                450 Commerce
o 152 Recovery ofDefaulted                    Liability                                                                            o 83 5 Patent - AbbreV1ated                      460 ;Jeportatlon
       Student Loans                    340Manne                                                                                                New Drug Appllcatton             a 4 70 Racketeer Influenced and
       (Excludes Veterans)              34 5 Manne Product                                                                        a 840 Trademark                                       CorruptOrgamzattons
c 15 3 Recovery of Overpayment                Liability                                     ,,-21,1#:Pf!lli;l,,il!!WA                                          E                 o 480 Consumer Credit
       of Veteran's Benefits            350 Motor Velucle                 Other Fraud        a 710 Fair Labor Standards            . 861 HlA (1395ft)                               490 Cable/Sat TV
  160 Stockholders' Swts                355 Motor Velucle            371 Truth m Lendmg                 Act                       a 862 Black Lung (923)                         a 850 Secunttes/Commodines/
  190 Other Contract                         ProductL1abtl1ty        380 Other Personal      a 720Labor/Management                 . 86.3 DIWC/DIWW (405(g))                             Exchange
a 195 Contract Product I..1abihty       360 Other Personal               Property Damage                Relattons                 a 864 SSID Title XVI                           o 890 Other Statutory Acttons
a 196 Francluse                              Injury                o 385 Property Damage      a 740 Railway Labor Act              . 865 RSI (405(g))                            a 891 Agncu!tural Acts
                                        362 Personal Injury-             Product;,,1abihty     · 751 Family and Medical                                                             893 Enwonmental Matters
                                             MechcalMalpracttce                                          Leave Act                                                               o 895 Freedom ofinf0rmat10n
                                         l:llVifflRIGWSB ''""                 RPFtTUIQNS:@; a 790 Other Labor L1naanon                                     :.-_-=,~,,.,
                                                                                                                                1::,,:,:%W"°E"'E;;;D""E.;;RAl:lfl'l:,::. =oo===I         Act
                                      o 440 Other C1vtl Rights       Habeas Corpus           o 791 Employee RetJiement            a 870 Taxes (U S P!amttff                      a 896 Arb1tratton
    220 Foreclosure                   a 441 Voong                  a 463 Ahen Detamee                  Income Secunty Act                        or Defendant)                      899 Adrrumstrattve Procedure
o 2.30 Rent Lease & Ejectment         a 442Employment              c SlOMottonstoVacate                                           a 871IRS--TlurdParty                                  Act/ReV1ew or Appeal of
    240 Torts to Land                 o 443 Housmg/                      Sentence                                                                26 l:SC 7609                           Agency Dec1s1on
    245 Tort Product Liability               Accommodanons         a 530 General                                                                                                 a 950 Consntunonahty of
a   290 All Other Real Property       o 44 5 Amer w/Dtsabilittes · o 535 Death Penalty      ,llii~¥JMMIGRMTIO~,,t:                                                                      State Statutes
                                             Employment              Othero                      462 Naturahzatlon Appllcatlon
                                      a 446 Amer w/Disabilittes -    540 Mandamus & Other        465 Other Irmmgranon
                                             Other                   550 ClVll Rights                  Acttons
                                      a 448 Educatlon              a 555 Pnson Conditton
                                                                   c 560 C1vtl Detamee .
                                                                          Conchttons of
                                                                          Confinement

V. ORIGIN (Pt                           neBox Only)
        Ongmal                           ed from            a       3   Remanded from              4 Remstated or               5 Transferred from       J    6 Mult1d1Stnct             J   8 Multtdistnct
        Proceedmg                       Court                           Appellate Court              Reopened                     Another D1stnct                 Litigation -                 Lit1gatton-
                                                                                                                                  (s ec1                          Transfer                     DrrectFile
                                           Cite the CS Civil Statute under which you are filmg (Do not cite jurisdictional statutes unless diversity) 28 U.S C Section 1441

VI. CAUSE OF ACTION                        Bnef descnptton of cause Plamttff alleges mJury due to exposure to
                                           asbestos
VII. REQL"ESTED IN                         0     CHECK IF THIS IS A CLASS ACTION                         DEMANDS Excess of $75,000                     CHECK YES only 1f                        omplamt
     COMPLAJNT:                                 L"NDER RULE 23, F R.Cv P                                                                               JURY DEMAND:                               'No
VIII. RELATED CASE(S}
                                               (See tnstroctzons)
      IF A.1'i'Y                                                         JL'DGE Eduardo Robreno             _ _ _DOCKET NUMBER

                                                                           S!GNATI.'REOF A T T O ~



    RECEIPT#                       AMOUNT                                      APPL YlNG IFP                                    JL'DGE                            MAG ll,'DGE

                                  - ·srP 11. 201e·
                                     Case 2:18-cv-03902-ER Document 1-1 Filed 09/12/18 Page 2 of 4
                                                                          UNITED STATES DISTRICT COURT
                                                                    FOR THE EASTERN DISTRICT OF PENNSYLVA..1'11A

                                                                                            DESIGNATION FORM
                                                                                                                                                                        390~
                            (to be used by counsel or prose plazntiffto indicate the category of the case for the purpose of assignment to the appropriate calendar)

    Address of Plaintiff:                  3111 TANSBORO RD., LOT 11, STRAWBERRY VILLAGE, BERLIN, NJ 08009
    AdclressofDefendant: _ _ _ _ _ _O_N_E_M_I_C_H_A_E_L_OWENS WAY,                                                                PERRYSBURG, OH 435_5_1_ __
    Place of Accident, Incident or Transaction:
                                                                      ----------------------------------



                                                                                                                                  tnO           Date Terminated:

THIS CASE IS RELATED TO, JIA~                                                3-e. e~,e~O
                                                                                                                                  ie year             YesD

CIVIL ACTION NO.                        MOL i 1 ~                                                                                 i
                                                                                                                                  1or suit
                                                                                                                                          .
CIMINAL NO.      \I'                                                                                                                                  YesD


                                                                                                                                  '
                                                                                                                                  1er                 YesO
A         IGNED TO:
                                                                                                                                  ~ghts           Yes   D
                                                                                                                                  pending or within one year previously terminated action m


                                                                                                                                                                   86908
    UAIE·
                   -~f-VJ7Z u                                                -~vv                 ---
                                                                               arney-at-Law I Pro Se Platnttff                                              Attorney ID ii (if applzcable)


    CIVIL: (Place a-Jin one category only)

    A.            Federal Question Cases:                                                                       B.    Diversity Jurisdiction Cases:

 0          1. Indemnity Contract, Marme Contract, and All Other Contracts                                     O      1.     Insurance Contract and Other Contracts




                                                                                                          ®.
 0          2. FELA                                                                                            O      2.     Alrplane Personal Injury
 0          3. Jones Act-Personal Injury                                                                       O      3.     Assault, Defamation
 0          4. Antitrust                                                                                       O      4.     Marine Personal Injury
                                                                                                               O             Motor Vehicle Personal Injury
 B
 0
           5. Patent
           6. Labor-Management Relations
           7. Civil Rights
                                                                                                                      5
                                                                                                                             Other Personal lnJury (Please specify)
                                                                                                                             Products Liability
 0         8. Habeas Corpus                                                                                           8      Products Liability - Asbestos
           9. Securities Act(s) Cases                                                                                        All other Diversity Cases
 B
 0
           10. Social Security Review Cases
           11. All other Federal Question Cases
                                                                                                                      9
                                                                                                                             (Please specify) - - · · - - - - - - - - - - -

               (Please specify). _ _ - - - - - - - - - - - - - -



                                                                                           ARBITRATION CERTIFICATION
                                                               (The effect of thzs certification is to remove the case from eltgtbtltty for arbitration.)


                                         -=Q"--"'IJ----'-Y)_._\-(A~_,_·\~Q--t---'' counsel of record or pro se plamtlff, do hereby certrl'y·
         ..::::.,,,--:-..,Y\'-'-~--"'---~~

                  Pursuant to Local Civil Rule 53 .2, § 3(c) (2), that to the best ofmy knowledge and belief; the damages recoverable in this civil action case
                  exceed the sum of $150,000 00 exclusive of mterest and costs:

         D        Relief other than monetary damages is sought



 DATE._~
                                                                                                                                                                   86908
                                                                                                                                                          Attorney l..D # (if applicable)

 NOTE Atria! de novo Will be a tnal by JU.'")! only If there bas been compliance Witb F RC P 38

 Civ 609 (5/2018)
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                       IN THE CNITED ST ATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PE:'.'ol'NSYLVA~

                    CASE MANAGEMENT TRACK DESIGNATION FORl\1

                    Harry Vernon,
                                                           18
                       V.
                    lnternationa Paper Co. and :
                    Owens-Illinois, Inc.,      :                             NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWL~G CASE MA."lAGEMENT TRACKS:

(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                             ( )

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                  ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.      ( )




                                                                                                 G
(d) Asbestos - Cases involving claims for personal injury or property damage from
    exposure to asbestos.

(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)                                                                              ( )

(f) Standard Management - Cases that do not fall into any one of the other tracks.                  ( )




Date      1

 215- 231- 7100
                                   g
                                   215-231-7101
                                                                          Owens-Illinois, Inc.
                                                                         Attorney for
                                                                         CMountain@maronmarvel.com

Telephone                           FAX Number                           E-'..\fail Address


(Civ. 660) 10/02




        SEP 12 2018
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                      IN THE L1'1TED STATES DISTRICT COURT
                   FOR THE EASTER.~ DISTRICT OF PENNSYLVANIA
                       -------
HARRY VERNON,

                             Plaintiff,        CIVIL ACTION NO.
              V.

INTERNATIO:'JAL PAPER COMPA.l\fY
6400 Poplar Ave.
Memphis, TN 38197-0100                         DEFENDANT OWENS-ILLINOIS, l~C. 'S
                                               :'JOTICE OF REMOVAL PURSUANT TO
                                               u.s.c. §1441
OWENS-ILLINOIS, INC.
c/o CT Corporation System
116 Pine Street, Suite 320
Harrisburg, PA 1710 I

                                                                  ...
                             Defendants.




                                           1
